        Case 4:20-cv-00330-P Document STATES
                      IN THE UNITED   73 Filed DISTRICT
                                               12/10/20 Page 1 of 2 PageID 723
                                                         COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                         FORT WORTH DIVISION

                              Alternative Dispute Resolution Summary

      Provider must file completed form, in duplicate, with the U.S. District Clerk upon
      completion of ADR.

1.    Civil Action number: 4:20-CV-00330-P

2.    Style of case:          ALEXIS CARLITO-GARCIAS v. CITY OF FORT WORTH, TEXAS

3.    Nature of suit:         U.S. CONSTITUTION & 42 U.S.C. Sec. 1983 DEATH CASE
4.    Method of ADR used:     ✔ Mediation           Mini-Trial        Summary Jury Trial
5.    Date ADR session was held: 9 DECEMBER 2020
6.    Outcome of ADR (Select one):
          Parties did not use my services.         Settled, in part, as a result of ADR.
       ✔ Settled as a result of ADR.               Parties were unable to reach settlement.
          Continuing to work with parties to reach settlement (Note: provider must file supplemental
          ADR Summary Form at conclusion of his/her services).
7.    What was your TOTAL fee: $1300

8.    Duration of ADR:      4.5 HOURS                                          (i.e., one day, two hours)
9.    Please list persons in attendance (including party association, i.e., defendant, plaintiff):

      ALEXIS CARLITO-GARCIAS, PLAINTIFF
      TIFFANY BUNTON, DAUGHTER OF PLAINTIFF

      ONEALDE MILLS, RISK MANAGEMENT, CITY OF FORT WORTH, DEFENDANT
      JAY CHAPA, DEPUTY CITY MANAGER, CITY OF FORT WORTH, DEFENDANT



      Please provide the names, addresses, and telephone number of counsel on the reverse of this form.


10.   Provider information:


       /s/ JOHNWALTON BROOKMAN                                                             9 December 2020
       Signature                                                                           Date

       604 E. 4th Street, Suite 201, Fort Worth, TX 76102                                  (817) 725-7070
       Address                                                                             Telephone
  Case 4:20-cv-00330-P  Document
                  Alternative    73 Filed
                              Dispute     12/10/20Summary
                                      Resolution    Page 2 of 2 PageID 724
                                       Continued

Please provide the names, addresses, and telephone numbers of counsel:
Name: SUSAN E. HUTCHISON                        Name:

Firm: HUTCHISON & STOY PLLC                     Firm:

Address: 505 PECAN STREET, SUITE 101            Address:

FORT WORTH, TEXAS 76102

Phone: (817) 820-0100                           Phone:



Name: LAETITIA COLEMAN BROWN                    Name:

Firm: FORT WORTH CITY ATTORNEY                  Firm:

Address: 200 TEXAS STREET                       Address:

FORT WORTH, TEXAS 76102

Phone: (817) 392-6639                           Phone:



Name:                                           Name:

Firm:                                           Firm:

Address:                                        Address:



Phone:                                          Phone:



Name:                                           Name:

Firm:                                           Firm:

Address:                                        Address:



Phone:                                          Phone:
